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 4   Email: vegasgoldenlaw@gmail.com
     Attorney for Defendant- Israel Evans
 5
 6                               UNITED STATES DISTRICT COURT

 7                                     DISTRICT OF NEVADA

 8
     UNITED STATES OF AMERICA,                            Case No. 2:21-cr-251-JCM-NJK
 9
                    Plaintiff,                            STIPULATION TO CONTINUE
10
                                                          SENTENCING
            v.
11                                                        (First Request)
     ISRAEL EVANS,
12
                    Defendant.
13
14
            IT IS HEREBY STIPULATED AND AGREED, by and between Jason Frierson, United
15
     States Attorney, and Robert Knief, Assistant United States Attorney, counsel for the United
16
     States of America, and Yi Lin Zheng and Andrew Wong, counsel for Israel Evans, that the
17
     sentencing set for December 20, 2024, be vacated and set to a date and time convenient to this
18
     Court, but no sooner than thirty (30) days.
19
            The Stipulation is entered into for the following reasons:
20
            1.      The government needs additional time to transfer Mr. Evans into its custody and
21
     ensure his appearance at the resentencing hearing.
22
            2.      The defense does not object to the continuance.
23
            3.      The parties agree to the continuance.
24
            4.      The additional time requested herein is not sought for purposes of delay, but
25
     merely to allow counsel for defendant sufficient time within which to be able to effectively and
26
     complete investigation of the discovery materials provided.
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 1         This is the first stipulation to continue filed herein.
 2         DATED: December 18, 2024.
 3   By /s/ Andrew Wong
     Andrew Wong                                       JASON FRIERSON
     Counsel for Israel Evans                          United States Attorney
 4
 5                                                     By /s/ Robert Knief
 6                                                     Robert Knief
                                                       Assistant United States Attorney
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 1                               UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                            Case No. 2:21-cr-251-JCM-NJK
 4
                    Plaintiff,                            FINDINGS OF FACT, CONCLUSIONS
 5
                                                          OF LAW AND ORDER
            v.
 6
     ISRAEL EVANS,
 7
                    Defendant.
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 9
10                                       FINDINGS OF FACT
11          Based on the pending Stipulation of counsel, and good cause appearing therefore, the
12   Court finds that:
13          1.      The government needs additional time to transfer Mr. Evans into its custody and
14   ensure his appearance at the resentencing hearing.
15          2.      The defense does not object to the continuance.
16          3.      The defendant does not object to the continuance.
17          4.      The parties agree to the continuance.
18          5.      The additional time requested herein is not sought for purposes of delay, but
19   merely to allow counsel for defendant sufficient time within which to be able to effectively and
20   complete investigation of the discovery materials provided.
21          6.      Additionally, denial of this request for continuance could result in a miscarriage
22   of justice. The additional time requested by this Stipulation is excludable in computing the time
23   within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United
24   States Code, Section 3161(h)(7)(A), considering the factors under Title 18, United States Code,
25   Section 3161(h)(7)(B)(i), (iv).
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                                                      3
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 1                                     CONCLUSIONS OF LAW

 2          The ends of justice served by granting said continuance outweigh the best interest of the
 3   public and the defendant in a speedy trial, since the failure to grant said continuance would be
 4   likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the
 5   opportunity within which to be able to effectively and thoroughly prepare for trial, taking into
 6   account the exercise of due diligence.
 7          The continuance sought herein is excludable under the Speedy Trial Act, Title 18,
 8   United States Code, Section § 3161 (h)(7)(A), when the considering the factors under Title 18,
 9   United States Code, § 3161(h)(7)(B)(i), (iv).
10                                               ORDER

11          IT IS FURTHER ORDERED that the resentencing scheduled for December 20, 2024 is
12   vacated and scheduled for: January 22, 2025 at 10:00 a.m.
13          .
14          DATED: December
                   December20,
                            19,2024.
                                2024.

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16                                                   UNITED STATES DISTRICT JUDGE

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